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                   EXHIBIT 19
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     Form 44 (version 2)
     UCPR 36.1A
                                         CONSENT ORDER


     Court                                   NSW Supreme Court
     Division                                General Division Common Law
     List                                    General
     Registry                                Sydney
     Case number                             2013/245661


     Plaintiff                               Craig Steven Wright (ABN 97481 146384)


     Defendant                               W&K INFO DEFENSE RESEARCH LLC




     Filed for                           Craig S Wright
                                         Plaintiff
     Contact name and telephone          Craig S Wright
                                         0417683914
     Contact email                       Craig S Wright (craigswright@acm.org)



     Orders/Judgment:

     1.      Judgment in the sum of $28,534,049.79 in favour of the plaintiff.

     2.          No order as to costs.

     3.      The court notes the agreement of the parties that the plaintiff will accept the transfer
             of Intellectual property held by the plaintiff in full and final satisfaction of the
             judgment.

                                                                                               .'.,   .\




     Plaintiff
     The plaintiff consents.
     Signature of plaintiff


     Capacity                                 Plaintiff
,   ,>
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                                                                                 2



             Date of signature                         28th Aug 2013
             Defendant
             The defendant consents.
             Signature of or on behalf of party
             if not legally represented
             Capacity                             Authorised officer
             Date of signature                    28th Aug 2013

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             __   J Wilson.             consents.
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             Court seal

             Signature
             Capacity

             Date made or given




             Subject to limited exceptions, no variation of a judgment or order can occur except on
             application made within 14 days after entry of the judgment or order.
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